                                                                                                                   o 5J
                                                                                                                   ^ ®
                                                                                                                     o
                                                                                                                   ^:;^l
                                                                                                                      • DO
                                                                                                                      ' ■<
                                                                                                                   P'S
                                                                                                              JT
                                 ^^naadoys                 /Tinr QNtnuo
                                  :9p/vfc(r7^W07 9h/T9f\/3^T9H7
                    ^^vic^K'iYl /"oiffy 7t/33Ng(X) /3/v2)aJj-y ^J-Wnd
                                                                                  (^lo'-py |o&m
           -       ^W]z)wv ■'                                                                 '1 A^^HiuvV
                 C^c .rvatj.vnn'!>3Q 'S-QVc) 5-1^ do
                             <r9^/noa:)(72/,J r'.<?Ud3'7?S
                 /iinp OA/w^                                                                         ^A.
               /i^fvt|-/ ot/ygAja9 /?Afi'9J-iV ->iVAi-^^                         <no^uQjj:j
                                                                 C%s)   ^ci ?r           iwp?:^!
                     7/.9?             '^'^^yd                          {(dmnifjQ                riaiin/f!
                                          'TW/   j(? iDi?i-i$'a
                                   d^OOdld^'^lSiC "^J-yjS (J^JJINO                                         IVNlsmo
                                       xaaio'viiGaans
                                   yM"^-U!LuTopUBJ|OOp.O Jj l3                      Uvfck-i >*7ffa           ''Tiai ''''
                                          6102 B 0 330                                                       Vl""H
                                       iivMVH JOiOiaisia
                                   lanoo ioiaisiQ saivis aauNfi                                   QSW£ xog'o (f
                                           3HiNia31W
PageID #: 5993      Case 1:17-cr-00101-LEK Document 694 Filed 12/06/19 Page 1 of 7   /^'ja/?(9 /rJiU<Vj^
    Case 1:17-cr-00101-LEK Document 694 Filed 12/06/19 Page 2 of 7                         PageID #: 5994




                               i\t\ofu0 csiBWL                            / hC


                    A.(oT/C'/0 dMLLE-^KnitjOi COUfiMCt WtV^
                   GiAr^b              S^IGcTid/v pdiAbbydtb


         _          PP;k^<'f\ib^G)b^)U<k\ Anl^hi^, kJ>tUfnJj 4                   /,
    ■                                           Htbpn^lllmlcJU'm i'o4iuLy^<.
         GfUndM^j bulxbcn PfiC'uiyfyjS (lr,d                       fUbmejav'6''^/>f6nJ'
         UA "^ Ao h d Cdml'liqhc& u'^i                       pruC'i^b/i^ anc^
                       bilodbo'^t' ifinyct) -for ciit>i%'S^'i[ of HiC /hcii<^J)!A^- /n
    . gPdil'^                    undil/>jl}'i(^ 5kk^0 diiodfllaynj
J.. So3^V^>^lAL FMCL/cb TO CoAlfL/
     SfUGlTlOrJ P>cOCe'DUilet>                                                        __

                    ^           lp6i) bf "Hit vQ^^'ii/ dujob oflr^/h'i^jprAoclurO
             piC^'icA.^ 'f^li Poua!'shitOidd'"'Quo // pUOSJ/if/dJunoS ic_
         'ot!/>)!}} t>/),icl_ pHiO pdli'O i''dA'0^
        occur inO^'to CCod OrkP)                         UtTAij fociAFkhCO^ *cC:Qini_
                    QP'MvQ pQ^I-C. pSry j^Orfj pih [bdlgijo ility jilpi Oudcdlp^
        £)f 0^jrbhjjury /f il]bJUr/O iOdib Hop j^Jlj.(judPiob 0^^l)T^_
               M

Jzi.lkPA PG no fciod ofA jrddju/j Jj/A .ffi^JiikiMnpFulTfjA to
         A       juf'^ l}on5,yt of Tf^'Pp^A>ia 'P^ OAA^p/dif^
               of koTn^b jo CFCT^ d j'l/orMj niuof d
        of Ik J)fcH'>d 2t> /W<!v)ito> ofjhcOWijJoioH jf fdujlr fli^A
           r5 prc'Aif jAin foA nuiuP^ di\L froOAxf'j^ ^fAiib
   JuriA T\cjcbfp•          or moiOJdror:> Moof l/iir T Rl\/or^of
._             )r^dbnOj)ff drrd if fuytP cUlin pOjcj^[\p) jf fku'or^
.       d[i% fjjff -,5 £ii,)y         n()_     ^.11" or A "/)c hjj",

3. 7^6 MvnMiPUs hb fwdd .Am PtPFPf d d/e de/d>x oc_,_
   On wT AbAAi iUibA j)iAjdT
        ilb Ia^P j^o'ofo Qt) J^fo>rj odr/l!/) jArr'-~ Lf de/'/jclTpJO^rA
                                                                                           3
               Case 1:17-cr-00101-LEK Document 694 Filed 12/06/19 Page 3 of 7                  PageID #: 5995
4>                         asyah                 im         fikan^ -jkntr^atn^
      0^ Ue    JueQ            Mdyi!"-^be^kji^j i'ul],di i/£,luid(l
      /     lb Oi^ iiii-' h'^i          tib'^ fbc^on kj^ik
       Viokks              juM ■p<T)(i^te5, 'Xif u^t \%iUy skks^ "lie
      ff6^(loeci> j)a.j>OnhJ tj bis SSchoH ^//bi bi& £xchs,vd
                 i)j kui <^1             siCJd-i^dsk ob ^ hike^b              S- s
      Aihrdy fe;W (id y^',^                             4 C43d
      4%i kvJi&noi anu i^dLj di bj6 jrsu/?d dhf- docijur^ lods
      k>Mhd                                     /IrSiUli^5 4/^ 4^6 kk/cL.
      /A iiv5 Xdhivi 3b{)lpfi(:kls ampif5^ Sfbs Ukd/Mkj
      ffi/y) pUrjii;/i<j c\m mbr                  Cju4 or dry/y4/n/, ^k'cd AUij
      ti (kH'iiiljk Hrbid
                       . ^ Wrdicrk
                              ^ .doo             cr dowrCdd)4v rr cOhj/doJ
       '(Zi'lOih/Tj ddC'r/}vm)''0' i (^n aci\xj^jd od f^Cd^tbsr'^ /e:kr4^
          ■^narr^l ^z.-yn or dyd/imic fkkd ir 4/^6 SdMckr^o
      ok              kr               Z}(^jrord dr pi-ki'J0no5.
                            Of                                                  THtii i^otpp

     $/ knt ojii^dpl^oL.js ilokTlyd jb M pryci&ii _
__       Jp                cmm\::>5i6i'X0'^ CL-dy 'irs Ordor p jaj/pcrd lii-j,
        ; ZHthpn of onyj      /i^.c-TiS'l pdM Uiuk/ lii UH jSt/U OcfialcChpdS
          ^)Lo)ik), 3 i^hsch o/\ ik) f (O^bC'b -Hixi'''iipr 4/ohor fpd
          mkjc Oi'bXChoH (b)i (y)^ 6 ^ (c) bf- kZi X(n td!'!^ Cd*^ k'O/nj 0\^
j,         5coofh ^kk/yi^'k k kth uihd/ if rtruo^ LiOniJ&rpkid c; fukkk^/
               \\jity \o i;b,)jp.ij Lidiyilb jim'^'di^'y> 6f fhij-iiiic^ bid Pfyfii farU
           >l\l\\o[, dkMb h i/Oy^dii/\ Spppirh 6fjuci jyk'O'^ 4)0 koi./ndri^
           ofUhW                of C/irf ) f           (Zy ikomk
           (Knclpapnf /isfpbMic L'O oiicrioip           U5eJ ky bo ji/^j
           ilmffwbdboir dr dul aiJi{y         rokuf Lukto, Iffpkfoari
                      dndiki M; hii/) i fJhltiMi''til kiLfi, k Cojuyli^ irph
            _4^l-        ofkuj ■hkl' jyi sktiuj bsyibpj ^ iif
               dkk fljj bi6 prabmiM pp]drj Hil jciclror 0^(1 prd^jjwM.
           .                               kilo fy ^               i
   Case 1:17-cr-00101-LEK Document 694 Filed 12/06/19 Page 4 of 7                                           PageID #: 5996
                                                                                                     4


                        i> O^Pfufncil^S.jjF'^kh C^^orl dtWi'nli^PA                                Mj>
     b^A) 5db'?\i^M<i\ pi'loff) "b Comply ui^UiVl'ty ^rO'j->r6cis oF
                iiA                -Hib                         C()4if         5-^4j j)fo[mk\q
         v^A^r^i                                                                   ui;iti^/fk:$).-f-i"


    ^ll^V'P'"'. ^MjA^ict>^                Vy\d!>'?t(jf:^ is tnhli^l iz>                 , ic^'(odo06
    (X'\a Ci^lj (Xm (-1^0 qll of ^>6 (iZ^''6-b of-Fijij                    C'UnmASib/id* o-^Ck^'^
    PorSVOnf T^             tS^^7 ^L''5och^"^         Ujk'C l\ S kftiS^
             0^4&^y.^f foNd'o bc               u'juJ ^4^0jury Cc/>V)i.5>iin
    _D/: _Cb''^ iv^       ,u:',4-|,i 4ti6jUi'4       xo(:ob''^ 3^^ nd1
   _ .1>L A'^Ote^'^ ,       foOv/inh3v_ 4i!6 clA^'d Au^i pbn or ^':>
      v'^Yiyy"b7 \l7C^XQ.rj Mm-FX^XX&.O'^ of p.-rSuMb^ 0- '^t
    \)HX'/f 5ok^'rhcy>'\ (Q.)^(bl brjjr) ^0 4^15                                  Uij-il           A^...
                      jOfH tOHU^l lYi.slK.tn                     (4\c(             jtLKDO_^ud
                      i^b'oCbXA b4^-.5 4-^(6 Clndciil po/oo^"'^ Ob)^(iod
     fujO.yJi^PX^^ Ml^3- 'biliO i)]OiS^iiK Ujk.lObb'bM6> bihpFii/j                         CbO''iU/A'ldO[
      %f\JK6 ■ ~[p6 pOjcboS iH C'v CliS>c      bo q]\cuJcY^ 4c               {i-b'-ddp^
     Civ\dC'ob\ 3i-'CP \3o<ds Of yc.pjLc> (if C[li              f Dh::^^' fAnnhy i-ho
     XilAuAriO^. Uaci                             »)iX,o/). Xit-j furo^J
    .dbd()^X>.4[i&_ XooArfib Pi (l>ly ri-Co3 0^pQ.pa:.).o. be kho^ or
              ^uXsief-io^^         f)                }\of m.droAkn                 or{mpfi^haJ
     lAijI- Kyio_^A'Adi^n Qnl H           r.




IlI- HGMbDbs foL_mj4-fjmdiiP,'\ja ujith seUctvosO
         Fto'^Dv^iCS

 'l:_ 3j:d.u5c lif dio nio jikt 4 mi'Jjary i^s, as. ^ d'^^cr
     f-fo¥i l}ujktooS (Ind UoI/UvIkI j'i:lbibiYhor)S i)j piiFifFpc/y H^ajKOXkl
    ]n%idld Hofkin p^v'iSiiKS fbi)lzc^dJ^C .ilC'CirJcd mrK^ ^]C^r4'i</
     ^     ^\ A A     A „ /1.'   n - ,.     i   /n   /   / ii    .«»A/ .-. /


    J. Oxrj 3^ktdc^n proCQydurru matS kjy^ ^'kW                          jCt
                                                                                          r:
             Case 1:17-cr-00101-LEK Document 694 Filed 12/06/19 Page 5 of 7                    PageID #: 5997
  3,                kl\/& 0.ffO:''c^cA 'Ult'           ~bjC' fO}itchc>i> Ut/^ %&
         ^y&ici J\jr^ 3LMoy\ fnCulufd^ lw£ /id f lx^\ Cmfhcl
           donid 4o ci^r<2j£(£j dim >

           Cd^b ^bofdfo 4)0 i^ir duA- UAJhii)^kcyi                      or Lj,dhn ^£y)
 __ claj3 (l{}-u k)LdidMdoi'dit>CdX£k6rC6udlidh-:cJ6Co\y'rr&/^
           hj do       lid ilkiic/t61 4U    d'ArA&j M'-ds'Ar j'5
           durW^ do rlrdd^diHa^i MD\fh TO DiAmso xmicr/y)6tor
 _          Or dkj Ul prOC£ijd/)yS (M/ndtd/r On dtjmok 6f-^rk/rl-ir.J
           jiilui'i. jt>    dJiU w£ proA5/^o oddik ^di3 /h ^idiy
            di           or ptd
         C^iMtUUSlOAJ

__                Ul'O'i ^6                           H4\o \)r\clQjA^^h&i 6/)dfkx.^
Al>              r5i,^K4uC£'^(i^( Co 4^)6 TtCOfdS bf diejurj Ct)»)m-60
,. (>r tliJfk \i\_odu4d 4tio. VrxU/y,jM4 /iHj prloint                       fOCorcl^ or
 IdttkAJC-cf "b 4(3)11.55" 4tii 3 Qb^bo Ujiox l^ichon ofXko OnOir^.jnai
 io.Pk        LidhtkiJ- ^iVorA                  of fncd--
           kJ'dlAl^dol^^ bile- vh(iori,yitd /Vii)Xo jd kx an Orjor isoO'Od ^
         4^13 JoJiil/y^ji'iul \P bt j/i/cij-i o([(}otb jo qll i^iOdCudb bf d'O'jrrj
_ (Jj)jAfY\(3!>>tn3r or tWiL            pfdu h roi>ivtH'iO f^ropy huho^'- ft
           dKakdkd r£^clajoff\JorijddrM^.
      iLj^dib o>Ij 3ohi>44j
       ^
                  MlliiiAi             .. ._
                 hhHi                   ..
         li)\}^5o\ k M foorifxkA tW
         ibfhm»\ 4mj              LM U^t frdJdiCiirjktofMj^pr)
                  X 1Ca''1)U lU'i/v,              Opfi,nyA> dnci 1x0^             3i05.
              Vdu Gj)p(^3> \3jl\taL.6 ahJ hohib ^ih6( you dhpfAc dho
              i)ooc Dfyu>V;ts       L'oo45/'       5-,^^
 Case 1:17-cr-00101-LEK Document 694 Filed 12/06/19 Page 6 of 7                                       PageID #: 5998

                                                                                                 is



                    J>                 ST/i lEO i 6/U7 0r ffi C'TS

                    DE CiB E                             01 /V)^/]on)/ iu JI cim s
            I                                         cicMa^^ C^cfo>^                5~ki^
       rufls j S                     CoUlCt <^(ri6( COi/iiy hB P p\p b^t ^iH
       •'       ■   l          : .     ,'^        I              , I   \    ^
                 ij ^^ti thiofOiCp.Oj) (Incl hid'Ci
                ld-C\d

 [l .D^cUrCiof                               '^U'd^ij>>j-Or cJHy doi:iy,yy_jlpii(oy} HPPL
                                 ':)                      Ci ji cinc/jiiij
      .£^l)X»idd^LA(7ij;7(i>:^
       Icjllj-^u.»l6k!4L..m t>:^ P  pi^o
                                 f^ jnL                     '-
uPk biOk^M'l i s /Ip rOCPj^b^.^ Oi'^ iCQO(cii P/YlE "ditfC
         A         C^uorb,yi of a/    /(<?         P)
                          ^i6jur(j                      pipryjXiiiy h pOOCo^d >
                                                      obaM ftcoah                         ^
      JXtJi^ot iff ^i'ipS y/i PpO of ^iO diilpi'pdiM /nd:(pyEp''
       DiC-Wnnf ]S no^ 1'^ riippt of-(\iu ficonis of dio dhMOi
      '^\i&(l drdycijuOl          tj>ipjnfdd h 0006 pi dJodyviAf'
5- kAm^w i5 ihbi/^ rUfUphofilH fiicoais Mppi- iodot Oj^6
   A(f^ah'A>^f,Wn                      oy Ppo/cii Jju/j.
 G'                     i5 )\db /'/) fUi}dpy of iIm foLo/ij P%i riiO
      6Wurcd \a Dj>Ao                        4d                            dO(ju>rOd hj [au.',
                                     r50ap7                                       i2'(W^^rk^
      Skbu; 4Wi 4i]t, £i7i|Xl\L.lm^ii" kMJ> ,i-\Ooinpl){iik'C kjAf
       bdoi\io\                                                                      ^
fs Ldtkanf kiy hot ypf^ 4A/a ib                                            dp records op
                         fomfi\iptmOr orpj^rjy pL/^<,ud,xl-h MPJP/dolP),
      Sj6tk>w bJ'b\)6 Ka Ajlib U/A dpn \/,i)ki'&f hcCf^Od.
      d                              fPc                b'yi^opltd P: pooi fl/i
P' OA:larMl--A5^:^4-3 pur.H'4Kf P> fit USt ^ itOKg)^
       6jp^r5£!:^'''^ \ialitb)'iA>T tlluad                                 Uph_q ilUho/ijp
_ _ J^ainibi filA hj cbQWdnb                                                  _
  BX£JiiAl'&d -PfojV] 'Ddi lo/ij Document 694
       Case 1:17-cr-00101-LEK                                    cla^j 0^!\)ou£r^^^
                                                Filed 12/06/19 Page 7 of 7   PageID #: 5999   T
                             J j           j                      J
   ^\jf\l\U I                   i^i'lt ivyhh




                    (lBlTlF\mt OF S&?v'iCC-

   1 iuth^ too                ({Af^LAncl. CC^ricf COf^j                 (c.^djc^jr^
                                                                                  '
Ivix^                  UO. f^^aJ h MjiO

   [')i}firrop\jo/^ bffic^
   Ore^j PaA s y^}t6
             fvi.
         ftcle/Ql 6kU
    SOo Ak \%0(iV^(\ &\rol . i2/y) (s~ioo
    lknki/|^. lAl                                                                 ■

         on Ml^ '1%               d^ij of.       wdHAbir              c2<o/9.




                                                                                      K H
            ;u;^      icm
